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                                                                                                                                  IN THE UNITED STATES DISTRICT COURT
                                                                                                                                 FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                                           SOUTHERN DIVISION

                                                                                                                    RICHARD WERSHE, JR,
                                                                                                                                                            Case No. 22-cv-12596
                                                                                                                    Plaintiff,

                                                                                                                    v.                                      Hon. ____________________

                                                                                                                    UNITED STATES of America; jointly
                                                                                                                    and severally,

                                                                                                                    Defendants
                                                                                                                                                            COMPLAINT AND JURY
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
AY AD LAW , P. L.L. C.




                                                                                                                                                            DEMAND
                    645 Griswold St., Ste. 2202
                     DE TR OIT , M IC HI GA N 4 82 26




                                                                                                                    AYAD LAW, PLLC
                                                                                                                    Nabih H. Ayad (P59518)
                                                                                                                    Attorney for Plaintiff
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                                                                                                                                     This is a companion case which alleges
                                                                                                                                     similar facts to those in Case No 21-cv-
                                                                                                                                     11686 currently pending before the
                                                                                                                                     honorable judge Shalina D. Kumar.
                                                                                                                                     Plaintiff is filing this complaint to preserve
                                                                                                                                     his rights under the law, in consideration of
                                                                                                                                     the statute of limitations found at 28 USC §
                                                                                                                                     2401(b).




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                                                                                                                                                      COMPLAINT

                                                                                                                         NOW COMES, Plaintiff Richard Wershe, Jr (hereinafter "Plaintiff"), by and

                                                                                                                   through his attorneys at Ayad Law, PLLC, and does hereby make the following

                                                                                                                   complaint:

                                                                                                                                            PRELIMINARY STATEMENT

                                                                                                                         It is anticipated that Defendants in this action will assert a defense based on

                                                                                                                   the statutory limitations periods of Plaintiff's causes of action. However, the

                                                                                                                   undersigned counsel has done extensive research as to that issue, and feels confident
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                                                                                                                   in bringing this action based on the relatively recent (and commendable) trend of

                                                                                                                   federal courts to apply equitable tolling of limitation periods in cases brought by

                                                                                                                   recently released prisoners against the criminal justice system and those that had the

                                                                                                                   power to keep them imprisoned. "Thus, the Court concludes that in the prison

                                                                                                                   context, reasonable fear of retaliation may be sufficient to constitute extraordinary

                                                                                                                   circumstances warranting equitable tolling, particularly if the person threatening

                                                                                                                   retaliation is a defendant or another official who could be or was influenced by a

                                                                                                                   defendant." Davis v Jackson, No. 15-CV-5359 (KMK), 2016 WL 5720811, at *11

                                                                                                                   (SDNY, September 30, 2016).

                                                                                                                         The emerging doctrine holds that when a prisoner has a legitimate fear of

                                                                                                                   retaliation for exercising their rights, equitable tolling must be considered. Here,

                                                                                                                   Plaintiff Wershe actually has been retaliated against by the justice system, and

                                                                                                                   received wise counsel from his prior two attorneys (William Bufalino and Ralph
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                                                                                                                   Musilli) to forego seeking legal redress until he was out of prison for fear of

                                                                                                                   retaliation.1

                                                                                                                                                       THE PARTIES

                                                                                                                       1. Plaintiff RICHARD J. WERSHE, Jr. is a recently released prisoner. Plaintiff

                                                                                                                          is also known by the pseudonym White Boy Rick, a name given to him by the

                                                                                                                          news media and never used by himself or his acquaintances. Born July 18,

                                                                                                                          1969, Plaintiff spent 32 years and 7 months in prison, only being released last

                                                                                                                          year on July 20 of 2020. Plaintiff is the longest serving sentence bestowed on
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                                                                                                                          a minor, for a nonviolent offense, in the history of the State of Michigan, 32

                                                                                                                          years and 7 months; His entire adult life until his release less than a year ago.

                                                                                                                          Prior to his arrest in 1987, and as of now in 2021, Plaintiff resides in Eastern

                                                                                                                          District of Michigan.

                                                                                                                       2. Defendant, UNITED STATES, is liable for the torts of the federal actors in

                                                                                                                          its employ pursuant to the Federal Torts Claims Act.

                                                                                                                                                JURISDICTION & VENUE

                                                                                                                       3. The jurisdiction of the Court is invoked pursuant to the Federal Torts Claims

                                                                                                                          Act, 28 USC § 1346(b) et seq.




                                                                                                                   1 See attached Affidavits of Richard J. Wershe, Jr., his fiancée Michelle MacDonald, and his
                                                                                                                   former attorneys widow Ms. Lynn Hoover.

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                                                                                                                      4. Under U.S. Const. Art. III §2, this Court has jurisdiction because the rights

                                                                                                                         sought to be protected herein are secured by the United States Constitution.

                                                                                                                         Jurisdiction is proper pursuant to 28 U.S.C. § 1331, Bivens v. Six Unknown

                                                                                                                         Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), et seq.,

                                                                                                                         5 USC § 702, 5 USC § 706, the United States Constitution, and federal

                                                                                                                         common law.

                                                                                                                      5. This action seeks declaratory relief pursuant to the Declaratory Judgement

                                                                                                                         Act, 28 USC §§ 2201-2, Rules 57 and 65 of the Federal Rules of Civil
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                                                                                                                         Procedure, and pursuant to the general, legal, and equitable powers of this

                                                                                                                         Court.

                                                                                                                      6. This action seeks damages pursuant to 28 USC § 1343(a)(4) and 28 USC §

                                                                                                                         1357.

                                                                                                                      7. Venue is proper under 28 USC § 1391(e) because the Defendants in this action

                                                                                                                         are United States officers or employees and a substantial part of the events

                                                                                                                         giving rise to the claims herein occurred in this judicial district for the Eastern

                                                                                                                         District of Michigan.

                                                                                                                                    ADMINISTRATIVE CLAIMS EXHAUSTED

                                                                                                                      8. Plaintiff has filed administrative claims with the appropriate government

                                                                                                                         agency, the Department of Justice.

                                                                                                                      9. Plaintiff has had their administrative claims administratively denied via letter

                                                                                                                         dated April 28, 2022, attached.
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                                                                                                                      10. Plaintiff has now met all conditions precedent to a Federal Torts Claims Act

                                                                                                                         action.

                                                                                                                                              FACTUAL BACKGROUND

                                                                                                                                            CHAPTER ONE: CHILD ABUSE

                                                                                                                      11. In 1980's Plaintiff sister started dating a known drug dealer. Plaintiff's father

                                                                                                                         became concerned and contacted the FBI to ask if they could help get this

                                                                                                                         drug dealer out of her life.

                                                                                                                      12. In 1984, FBI Agent James (Jim) Dixon (the estate of which is sued here as
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                                                                                                                         represented by surviving spouse Carol Dixon, hereinafter all referenced

                                                                                                                         collectively as "Dixon") met with Plaintiff's father at a McDonalds, where he

                                                                                                                         had taken Plaintiff. Dixon agreed to help Plaintiff's father on the condition

                                                                                                                         that Plaintiff's father identify individuals in photographs which Dixon had

                                                                                                                         brought with him.

                                                                                                                      13. There, Plaintiff was able to identify most of the individuals in the photographs

                                                                                                                         because, like nearly all of his classmates and neighborhood friends, he knew

                                                                                                                         the individuals from neighborhood gossip.

                                                                                                                      14. Dixon was apparently impressed with Plaintiff's knowledge, because within a

                                                                                                                         few days, he drove up alongside Plaintiff as he walked home from school and

                                                                                                                         told Plaintiff to "get in" to his vehicle.




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                                                                                                                      15. Plaintiff, being a 14-year-old child with the fear of law enforcement common

                                                                                                                         to East Detroiter's at that time, felt compelled to do as he was told by this law

                                                                                                                         enforcement agent, a figurative and literal authority figure.

                                                                                                                      16. Although he did not want to out of fear, Plaintiff complied with Dixon's

                                                                                                                         demands

                                                                                                                      17. Mr. Dixon's unannounced visits with Plaintiff quickly became a regular

                                                                                                                         occurrence, occurring dozens of times over the course of the next several

                                                                                                                         months, with Dixon introducing Plaintiff to other law enforcement from both
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                                                                                                                         the Federal Bureau of Investigations ("FBI") and the Detroit Police

                                                                                                                         Department ("DPD") that were part of a joint taskforce (the "taskforce").

                                                                                                                      18. At no point during his time working as a confidential informant did Plaintiff

                                                                                                                         feel he was free to disobey the taskforce officers when they demanded he get

                                                                                                                         into their vehicles.

                                                                                                                      19. Although the taskforce agents and officers made absolutely clear to Plaintiff

                                                                                                                         that he was not to speak of their dealings to anyone, in order to attempt to

                                                                                                                         cover their abuse, they would occasionally give Plaintiff some cash to keep

                                                                                                                         from talking.

                                                                                                                      20. Knowing how fundamentally wrong and outrageous it was to endanger a

                                                                                                                         child, Dixon and the taskforce hid this fact in their official files by using

                                                                                                                         Plaintiff's father's name, Richard J. Wershe, Sr., in their reporting, instead of

                                                                                                                         Plaintiff's name: Richard J. Wershe, Jr.
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                                                                                                                      21. In approximately August of 1984, Dixon introduced Plaintiff to his coworker,

                                                                                                                         FBI Agent Herman (Herm) Groman ("Groman").

                                                                                                                      22. Dixon then stopped interacting with Plaintiff while Groman began accosting

                                                                                                                         Plaintiff much more frequently than Dixon had, multiple times a week and

                                                                                                                         sometimes each day for several days in a row.

                                                                                                                      23. Like Dixon, Groman would randomly accost Plaintiff while he walked to or

                                                                                                                         from school, to the store, to friends' houses, to or from the basketball court, or

                                                                                                                         even show up at Plaintiff's home unannounced.
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                                                                                                                      24. Unlike Dixon, Groman asked for Plaintiff to act as more than just an

                                                                                                                         informant and began having Plaintiff engage in extremely more

                                                                                                                         dangerous criminal drug-related activity.

                                                                                                                      25. Thereupon, Groman introduced Plaintiff to DPD officers William (Billy)

                                                                                                                         Jasper ("Jasper"), Kevin Greene ("Greene") who were part of the task force.

                                                                                                                      26. Although Plaintiff was hesitant to keep cooperating, Groman and the task

                                                                                                                         force pressured Plaintiff to continue down this dangerous path, thereby risking

                                                                                                                         his life.

                                                                                                                      27. Plaintiff, at the tender age of 15 years, was of a malleable and impressionable

                                                                                                                         mindset and did what the FBI agent and DPD officers demanded he do, that

                                                                                                                         is go into drug houses he did not know, in areas of the city he did not know,

                                                                                                                         and ask to buy drugs from people he did not know, because Groman, Jasper,



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                                                                                                                         Greene and other law enforcement officers assured him that they "would be

                                                                                                                         right there" if anything went wrong.

                                                                                                                      28. At the time, being a child, Plaintiff did not fully comprehend that, despite

                                                                                                                         their supposed best intentions, the task force would be completely unable

                                                                                                                         to save him should one of the many violent drug dealers or their criminal

                                                                                                                         henchmen decide to shoot Plaintiff for nosing in on their drug operation.

                                                                                                                      29. In the months of August, September, October, and November of 1984,

                                                                                                                         Groman, Jasper, and/or Greene would pick Plaintiff up in his car and
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                                                                                                                         make him go purchase drugs from drug houses throughout the greater

                                                                                                                         Detroit area, return with the drugs, allow them to take a small sampling

                                                                                                                         of the drugs, and then leave with the remainder of the drugs, with

                                                                                                                         instructions to sell them.

                                                                                                                      30. Plaintiff, although clearly an adolescent with little business sense, thanks to

                                                                                                                         the task force, was frequently in the same place, at the same time as Johnny

                                                                                                                         Curry, the leader of a dangerous drug-trafficking gang known as the Curry

                                                                                                                         Gang or the Curry Brothers Gang.

                                                                                                                      31. It is no surprise that then that Plaintiff likely raised suspicion amongst these

                                                                                                                         dangerous criminals, who likely suspected him to be an informant.

                                                                                                                      32. In November of 1984, there was an attempted assignation of Plaintiff whereby

                                                                                                                         he was shot at point blank range with a .357 magnum, cutting his large

                                                                                                                         intestine in half and, and only surviving by the grace of God.
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                                                                                                                      33. Grosman, Jasper, and Greene went to see Plaintiff in the hospital for the

                                                                                                                         sole purpose of persuading and coercing him into lying about the

                                                                                                                         circumstances of his attempted assassination.

                                                                                                                      34. Instead of pulling him out, they further endangered him by coercing him

                                                                                                                         to stay a confidential informant.

                                                                                                                      35. After being shot, Plaintiff did as he was told by Groman, Jasper, and Greene

                                                                                                                         and lied about his attempted murder, stating that it was all just a big

                                                                                                                         "accident."
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                                                                                                                      36. Yet, it was obvious to most that the shooting was not an accident, Plaintiff

                                                                                                                         was told to cover it up to greatly increase his credibility on the 'streets' and,

                                                                                                                         more importantly to Jasper, Greene, Dixon, and Groman that it would allow

                                                                                                                         them to continue their abuse of Plaintiff.

                                                                                                                      37. Not only did Jasper, Greene, Dixon, and Groman continue their abuse, but

                                                                                                                         Plaintiff ended up doing far more 'jobs' for the task force after he was shot

                                                                                                                         than he ever did before he was shot.

                                                                                                                      38. In fact, Groman gave 15-year-old Plaintiff a fake ID stating that he was 21

                                                                                                                         and sent him to Las Vegas with thousands of dollars of cash, to go undercover.

                                                                                                                      39. When Plaintiff was first criminally charged, he gained notoriety in the local

                                                                                                                         news and been dubbed by the media as "White Boy Rick."

                                                                                                                      40. The media dubbed Plaintiff a drug "king pin," and accusation that was false

                                                                                                                         in every sense.
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                                                                                                                        41. Plaintiff had no employees, agents, or underlings, and no criminals had

                                                                                                                           allegiance to Plaintiff, at any time.

                                                                                                                        42. Plaintiff was young and completely unable to comprehend in an adult sense

                                                                                                                           the dangers of being a 'rising star' in the drug trade in a highly contested drug-

                                                                                                                           war battleground of 1980's Detroit.

                                                                                                                        43. Plaintiff's fame and notoriety made him a local legend amongst his peers, but

                                                                                                                           amongst adults as well.

                                                                                                                        44. In 1987, when the media coverage of "White Boy Rick" exploded, Plaintiff
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                                                                                                                           became a local and national celebrity, easily recognized and often followed

                                                                                                                           and photographed by Detroit news reporters.

                                                                                                                        45. By this time, Grosman, Jasper, Greene, and the other members of the task

                                                                                                                           force had ended their contacts with Plaintiff, likely to save themselves from

                                                                                                                           legal action should they have been caught using a 14/15-year old as a drug

                                                                                                                           dealer-informant.

                                                                                                                        46. Plaintiff was now a 16-year-old child, known on sight by most of Detroit as a

                                                                                                                           notorious drug king pin, in a city being ravaged by drug warfare, both between

                                                                                                                           rival drug gangs and the Detroit Police Department, and with no trusted adults

                                                                                                                           that he could contact for any guidance.2


                                                                                                                    2The task force that Plaintiff had worked with focused on two types of criminals, Curry Gang
                                                                                                                    members and corrupt Detroit Police Officers. Accordingly, Plaintiff was afraid of ever having to
                                                                                                                    call on the Detroit Police Department (outside of the task force) for help.

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                                                                                                                       47. Accordingly, criminals attempted to murder Plaintiff on multiple occasions.

                                                                                                                       48. On one occasion, a drive-by shooting occurred at Plaintiff's father's house

                                                                                                                           while Plaintiff's jeep was parked outside. His father's house was shot, 15 to 20

                                                                                                                           bullets struck his jeep, and at least one bullet flew within a foot of Plaintiff's

                                                                                                                           father's head while he sat and watched television in his family room.

                                                                                                                       49. On another occasion, Plaintiff was the passenger of a car in which he was

                                                                                                                           driving with his friend, Roy (last name unknown), and a van pulled up

                                                                                                                           alongside them while they were stopped at a light at Harper Avenue and Outer
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                                                                                                                           Drive, when the van's door swung open and an occupant opened fire on

                                                                                                                           Plaintiff.

                                                                                                                       50. Plaintiff's friend ran the red light, sped through the intersection, and the pair

                                                                                                                           escaped uninjured.

                                                                                                                       51. But hitmen should not have been Plaintiff's only concern. Now that he was

                                                                                                                           falsely promoted as a drug king pin in a city which was clamoring for law

                                                                                                                           enforcement to punch back at the drug traffickers, Plaintiff was also an

                                                                                                                           irresistible target for Detroit Police Officers, whom potentially knew nothing

                                                                                                                           of Plaintiff's past career as an informant with a specialized federal-local joint

                                                                                                                           "task force." Thanks to Jasper, Greene, Dixon, and Groman, Plaintiff had

                                                                                                                           become a target for the drug gangs as well as a target for law

                                                                                                                           enforcement.



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                                                                                                                       52. Accordingly, on May 22, 1987, at the age of 17, upon information and belief,

                                                                                                                           Plaintiff was set up and taken down by Detroit Police.

                                                                                                                       53. While driving to his grandmother's house with a friend (where Plaintiff often

                                                                                                                           parked his car), Plaintiff and his friend were pulled over by Detroit Police.

                                                                                                                       54. There, although Plaintiff allowed the DPD officers to search his vehicle, a

                                                                                                                           conflict ensued as the DPD officers became aggressive with Plaintiff and his

                                                                                                                           friend.

                                                                                                                       55. Frightened, Plaintiff did as any child would do, and ran away.
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                                                                                                                       56. When DPD caught Plaintiff less than an hour later, they beat him so badly,

                                                                                                                           including whipping him with their pistols, that he had to be hospitalized at

                                                                                                                           Detroit Receiving Hospital overnight.

                                                                                                                       57. Hours after Plaintiff's hospitalization at the hands of DPD, DPD allegedly

                                                                                                                           received a 911 call tipping them off to a large box full of cocaine that was

                                                                                                                           later used as evidence against Plaintiff in the case that put him in prison for

                                                                                                                           32 years 7 months.

                                                                                                                       58. This was despite the fact that none of the many witnesses who witnessed

                                                                                                                           Plaintiff flee that day saw Plaintiff running with a box, despite trying the

                                                                                                                           DPD forensic technicians could recover no fingerprints from the box, and

                                                                                                                           when the 911 tape was requested DPD stated that the 911 call had

                                                                                                                           happened right as the tape was being changed, so they claimed there was

                                                                                                                           not tape recording to give.
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                                                                                                                        59. In 1978, Michigan passed what became known as the 650-lifer law (MCL

                                                                                                                           333.7401) which, before its revision, mandated that anyone convicted of

                                                                                                                           possessing 650 grams of cocaine or more be sentenced to life without the

                                                                                                                           possibility of parole.3

                                                                                                                        60. At his trial, Plaintiff was alleged to have possessed more than 650 grams of

                                                                                                                           cocaine with an intent to distribute it.

                                                                                                                        61. In 1987, while still a minor, Plaintiff was convicted and sentenced to life

                                                                                                                           without parole.4
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                                                                                                                                         CHAPTER TWO: THE US GOVERNMENT’S
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                                                                                                                                            CONTINUED UNLAWFUL ACTION

                                                                                                                        62. In 1991, while Plaintiff was in prison, Groman introduced Lynn Helland

                                                                                                                           ("Helland") an Assistant United States Attorney with the Eastern District of

                                                                                                                           Michigan.

                                                                                                                        63. Both Groman and Helland wanted Plaintiff to play a key role in a large sting-

                                                                                                                           operation to take down corrupt Detroit Police and politicians, among others.

                                                                                                                           This was deemed "Operation Backbone."



                                                                                                                    3After Plaintiff's sentencing, Reforms to the 650-lifer law in Michigan drug crime cases now have
                                                                                                                    changed the mandatory life sentence requirement to 20 years to life, with eligibility for parole.
                                                                                                                    4 This sentence, as applied to Plaintiff, was later held unconstitutional by the Supreme Court of the
                                                                                                                    United States: "1) Eighth Amendment prohibits imposition of life without parole sentence on
                                                                                                                    juvenile offender who did not commit homicide, and 2) State must give juvenile nonhomicide
                                                                                                                    offender sentenced to life without parole meaningful opportunity to obtain release." Graham v
                                                                                                                    Florida, 560 US 48; 130 S Ct 2011; 176 L Ed 2d 825 (2010), as mod (July 6, 2010).

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                                                                                                                       64. Although Plaintiff initially did not want to participate, Helland persisted and

                                                                                                                           persuaded the then 20-year-old Plaintiff that if he helped them, they would

                                                                                                                           always do everything in their power to get Plaintiff released from prison.

                                                                                                                       65. Operation Backbone was a success, with some 13 Detroit Police and public

                                                                                                                           officials being arrested as a result of the operation.

                                                                                                                       66. Helland then, arranged to have Plaintiff placed in the witness protection

                                                                                                                           program while in prison, out of fear that elements of the corrupt Detroit Police

                                                                                                                           Department that he had helped to strike a blow, would be able to retaliate
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                                                                                                                           against him while he was imprisoned.

                                                                                                                       67. This relocation and giving of a fake identity had a massive psychological

                                                                                                                           effect, (essentially cutting Plaintiff off from his family to the point that he did

                                                                                                                           not see his father for 15 years and saw his mother only twice in as many years)

                                                                                                                           on Plaintiff as the thought that the same law enforcement that he had looked

                                                                                                                           up to as a child, and worked with, just a few years ago, would potentially have

                                                                                                                           him killed while he was in prison, drove home for Plaintiff the absolute

                                                                                                                           dehumanizing vulnerability that accompanied being locked up; his existence

                                                                                                                           was not just jeopardized by prison gangs, but by the entire *justice* apparatus

                                                                                                                           itself.

                                                                                                                       68. Now, after having to be relocated into the witness protection program,

                                                                                                                           Plaintiff's attorney William Bufalino's advice to not attempt legal action



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                                                                                                                           against any of the law enforcement that had caused his imprisonment

                                                                                                                           made sense in an entirely more serious way.

                                                                                                                       69. Plaintiff was terrified of his captors. And the hopelessness inevitably

                                                                                                                           instilled by his sentence of life without parole sapped the 'fight' out of him

                                                                                                                           the entire time he was incarcerated.

                                                                                                                       70. In approximately 1992, federal agents from the Drug Enforcement Agency

                                                                                                                           ("DEA") along with Assistant United States Attorneys ("AUSA") from the

                                                                                                                           Eastern District of Michigan E. James King ("King") approached Plaintiff for
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                                                                                                                           more life-risking help and asked him to testify before a grand jury against

                                                                                                                           members of the Best Friends gang.

                                                                                                                       71. Once again fearing for his safety, Plaintiff at first refused.

                                                                                                                       72. Yet King assured Plaintiff that he had nothing to worry about because he

                                                                                                                           guaranteed the indictments of these criminals and Plaintiff's testimony before

                                                                                                                           the grand jury would always be sealed and never be released, specifically to

                                                                                                                           protect those testifying against the gangsters.

                                                                                                                       73. This guarantee from the Assistant United States Attorney assuaged Plaintiff's

                                                                                                                           fears and he agreed, on the condition that King do everything in his power

                                                                                                                           going forward to assist Plaintiff in getting his sentence commuted.

                                                                                                                       74. King agreed to do everything in his power to get Plaintiff's sentence

                                                                                                                           commuted in exchange for his grand jury testimony against the very

                                                                                                                           dangerous and deadly 'Best Friends' gang.
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                                                                                                                       75. The parties having reached an agreement, sometime between 1992 and

                                                                                                                           1993, Plaintiff testified before the grand jury regarding the Detroit

                                                                                                                           gangsters and drug pushers as requested, giving very powerful testimony

                                                                                                                           against the Best Friends gang.

                                                                                                                       76. At the grand jury testimony, he was again assured that nothing he said

                                                                                                                           could ever be used against him in any way.

                                                                                                                     CHAPTER THREE: THE UNLAWFUL RENEGING ON THE AGREEMENT

                                                                                                                       77. In July of 1998, Michigan’s Governor John Engler reformed the Michigan
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                                                                                                                           lifer law, allowing prisoners such as Plaintiff to become eligible for parole

                                                                                                                           after serving 15 years in prison.

                                                                                                                       78. After the reforming of the law, Plaintiff became eligible for parole in 2002

                                                                                                                           and was in early 2003, Plaintiff was given notice by the Michigan Parole

                                                                                                                           Board of his upcoming March 2003 parole hearing.

                                                                                                                       79. Plaintiff felt that, finally, all of the life-endangering work he did for FBI agent

                                                                                                                           Groman, the DEA agents, AUSA Helland, and King, while in prison was

                                                                                                                           about to pay off with the Groman, Helland, and King keeping their end of the

                                                                                                                           agreement.

                                                                                                                       80. Without Plaintiff, Operation Backbone would never have happened and the

                                                                                                                           13 corrupt Detroit Police Department officials would never have been

                                                                                                                           charged.



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                                                                                                                       81. Without Plaintiff, members of several Detroit's infamous drug gangs would

                                                                                                                           never have been taken off the streets.

                                                                                                                       82. In preparation for his parole hearing, Plaintiff began calling the Justice

                                                                                                                           Department actors that had promised to help him: starting with Assistant

                                                                                                                           United States Attorney Lynn Helland, the head of the public corruption unit

                                                                                                                           at the Eastern District of Michigan, to ask for him to do his end of the

                                                                                                                           agreement and advocate at the hearing.

                                                                                                                       83. Plaintiff, however, received devastating news from Helland. Namely, the
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                                                                                                                           deal was off and that they would not be performing their end of the

                                                                                                                           agreement.

                                                                                                                       84. Helland informed Plaintiff that one of his superiors at the office had told

                                                                                                                           him he, he nor James King could advocate for Plaintiff in the future

                                                                                                                           because the United States Attorneys Office for the Eastern District of

                                                                                                                           Michigan now had an official stance regarding Plaintiff: That they did

                                                                                                                           not support his release (breaching their agreement with Plaintiff).

                                                                                                                       85. The United States Attorneys Office for the Eastern District of Michigan

                                                                                                                           sent a letter to that effect to the Michigan Parole Board to consider at

                                                                                                                           Plaintiff's hearing.

                                                                                                                       86. Plaintiff experienced then a worse heartbreak and suffocating sense of

                                                                                                                           hopelessness than he felt when he was first convicted of life without parole.



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                                                                                                                       87. Come the day of his parole hearing, Plaintiff's nightmare turned surreal as

                                                                                                                           Detroit Police Officers that he had never met before testified at his hearing,

                                                                                                                           quoting directly from Plaintiff's sealed grand jury testimony.

                                                                                                                       88. Plaintiff had been assured years earlier, in the mid 1990's, that his grand jury

                                                                                                                           testimony would never become public and could never be used against him.

                                                                                                                       89. If he had not received that promise, Plaintiff never would have testified as he

                                                                                                                           did before the grand jury, for his own safety and well-being.

                                                                                                                       90. In a bathroom break at his hearing, Plaintiff told his then attorney, Bufalino,
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                                                                                                                           that the Parole Board was quoting from his sealed testimony before the grand

                                                                                                                           jury.

                                                                                                                       91. Bufalino's response was to tell Plaintiff not to dare make the accusation that

                                                                                                                           his sealed testimony had been illegally distributed at the hearing and further

                                                                                                                           to keep his mouth shut about it until after he get out of prison.

                                                                                                                       92. One of the Detroit Police Officers who Plaintiff never met before and who

                                                                                                                           testified against Plaintiff was William Rice ("Rice").

                                                                                                                       93. Upon information and belief, at the time of Plaintiff's hearing, Rice was the

                                                                                                                           head of, or a high-level official in, the Detroit Police Department's homicide

                                                                                                                           division.

                                                                                                                       94. In 2016, Rice signed a sworn affidavit stating that prior to Plaintiff's

                                                                                                                           hearing, he had received a curated transcript of the testimony which

                                                                                                                           Plaintiff gave to the grand jury and which was supposed to be sealed.
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                                                                                                                          95. Although officer Rice did not know Plaintiff he came and testified before the

                                                                                                                             parole board as though he had dealt with him based on the illegally released

                                                                                                                             grand jury testimony. Hence, the grand jury testimony that Plaintiff was

                                                                                                                             assured would never be used against him, was used against Plaintiff to deny

                                                                                                                             him parole.
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                                                                                                                                                                                                         5




                                                                                                                    5   This document has been reviewed and verified by Plaintiff.

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                                                                                                                       96. Someone at the United States Attorneys Office for the Eastern District of

                                                                                                                           Michigan (herein named as Unknown Assistant United States Attorney)

                                                                                                                           had unlawfully published the sealed testimony to be used against Plaintiff

                                                                                                                           at his hearing before the Michigan Parole Board.

                                                                                                                       97. The significance of this leaked document is not to be taken lightly as the

                                                                                                                           grand jury testimony that was presented to the Michigan Parole Board

                                                                                                                           absolutely materially was the dispositive factor in the Board's decision to

                                                                                                                           not allow Plaintiff parole, as it associated Plaintiff with the very
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                                                                                                                           dangerous Best Friends gang network.

                                                                                                                       98. This information about Plaintiff's iner dealings and knowledge of the

                                                                                                                           Best Friends gang would never have been able to be known had it not

                                                                                                                           been for Plaintiff's own grand jury testimony which he would have never

                                                                                                                           given had he known that 1) Groman, Helland, and King were going to

                                                                                                                           reneg on their deal and 2) that they would go even further and use the

                                                                                                                           testimony to keep him in prison for another 17 years of hell.

                                                                                                                       99. The results of the publishing of Plaintiff's sealed testimony were, as expected,

                                                                                                                           that he was denied parole at his 2003 hearing.

                                                                                                                       100.        The psychological and emotional effects from Plaintiff's utter betrayal

                                                                                                                           at the hands of Helland, Groman, King, and the Unidentified AUSA cannot

                                                                                                                           be overstated.



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                                                                                                                       101.         After 2003, Plaintiff fell into deep depression and despair for many

                                                                                                                           years.

                                                                                                                       102.         During his depression, and desiring some emotional connection to the

                                                                                                                           outside world and to his family, Plaintiff attempted to facilitate the purchase

                                                                                                                           of a car for his mother from Florida while in prison.

                                                                                                                       103.         In 2005, Plaintiff was charged with racketeering.

                                                                                                                       104.         After being kept in solitary confinement for 16 months, Plaintiff was

                                                                                                                           given an ultimatum by the Florida prosecutor: Either plead guilty, or they
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                                                                                                                           would indict Plaintiff's mother and sister.

                                                                                                                       105.         Plaintiff chose to spare his mother and sister, and pled guilty to the

                                                                                                                           trumped and ridiculous charges.

                                                                                                                       106.         The judge in the Florida case even made a note of this on the record,

                                                                                                                           stating that Plaintiff had only agreed to the guilty plea because the Florida

                                                                                                                           prosecutor had threatened to indict his mother and sister.

                                                                                                                       107.         Plaintiff was sentenced to five years in Florida prison, to be served after

                                                                                                                           his life sentence.

                                                                                                                       108.         In approximately 2004, Plaintiff became represented by new counsel,

                                                                                                                           Mr. Ralph Musilli ("Musilli") who began working diligently to get Plaintiff

                                                                                                                           released from prison.

                                                                                                                       109.         Plaintiff, having all but resigned himself to the belief that he would

                                                                                                                           spend the rest of his life in prison, inquired with Musilli about potentially
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                                                                                                                           taking legal action against Jasper, Greene, Dixon, Groman, Helland, and

                                                                                                                           King, but Musilli assured Plaintiff there was a real possibility of him

                                                                                                                           being released on parole and, therefore, Plaintiff did not take action

                                                                                                                           against these named individuals because he truly believed they would

                                                                                                                           exert their vast influence unduly to keep him in prison.

                                                                                                                       110.        In 2017, Plaintiff was finally paroled by the Michigan Parole Board.

                                                                                                                       111.        He never left government custody, however. Instead, Plaintiff was

                                                                                                                           transferred immediately to a Florida prison, where he served five years.
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                       112.        Plaintiff was finally released from prison on July 20, 2020.

                                                                                                                       113.        Plaintiff had spent 32 and 7 months years in prison.

                                                                                                                       114.        But-for Plaintiff's work as a confidential informant in the 1980's,

                                                                                                                           Plaintiff never would have been shot.

                                                                                                                       115.        But-for Plaintiff's work as a confidential informant in the 1980's,

                                                                                                                           Plaintiff never would have been sentenced to life in prison without parole.

                                                                                                                       116.        But-for Plaintiff's key role in Operation Backbone in the early 1990's,

                                                                                                                           Plaintiff never would have had to have been placed in the witness protection

                                                                                                                           program and lived in fear of his life while in prison.

                                                                                                                       117.        But-for Plaintiff's testimony to the grand jury in the mid-1990's, which

                                                                                                                           Plaintiff was promised could never be used against him, Plaintiff never would

                                                                                                                           have lost his chance at being paroled in 2003 and would not have had to do

                                                                                                                           17 additional grueling years in Prison.
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                                                                                                                                                      COUNT I
                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                          Negligence/Wanton Misconduct
                                                                                                                                    Indoctrination of Child into Criminal Society

                                                                                                                       118.         Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.

                                                                                                                       119.         Because they were law enforcement agents tasked with protecting the

                                                                                                                           public, because they were adults dealing with a minor, and because they were

                                                                                                                           often de facto custodians of Plaintiff, Dixon and Groman owed a duty to
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                           Plaintiff not to indoctrinate him into criminal society, give him drugs, give
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                                                                                                                           him money to purchase drugs, and instruct him in drug dealing.

                                                                                                                       120.         This duty is clear from the history of our culture and was or should have

                                                                                                                           been obvious to the law enforcement officers that taught Plaintiff to deal

                                                                                                                           drugs.

                                                                                                                       121.         Dixon and Groman taught Plaintiff how to deal drugs and encouraged

                                                                                                                           him, with the undue influence of adult authority figures over children, in this

                                                                                                                           behavior and as a direct result, Plaintiff became a drug dealer.

                                                                                                                       122.         The upholding of the right of children to be free from government

                                                                                                                           grooming or indoctrination must be upheld if the United States of America is

                                                                                                                           to have a free and ordered society.

                                                                                                                       123.         Dixon’s and Groman's actions in continuously taking 14-16-year-old

                                                                                                                           Plaintiff into their custody and control, couching him on how to commit

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                                                                                                                           serious felonies, providing him with large amounts of illicit drugs, and

                                                                                                                           instructing him on how to behave like a high-level criminal, absolutely shocks

                                                                                                                           the conscience to the point were several documentaries and a Hollywood film

                                                                                                                           have been made recounting the almost unbelievable sequence of

                                                                                                                           governmental abuses.

                                                                                                                       124.         But-for Dixon’s and Groman’s actions in grooming and indoctrinating

                                                                                                                           Plaintiff into becoming a notorious drug dealer, Plaintiff would never have

                                                                                                                           been shot in the abdomen at point blank range with a .357 magnum.
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                                    But-for Dixon’s and Groman’s actions in grooming and indoctrinating
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                                                                                                                       125.

                                                                                                                           Plaintiff as a child, Plaintiff never would have spent his entire adult life (32

                                                                                                                           years and 7 months) up until now in the small, dark, cages that were his prison

                                                                                                                           cells.

                                                                                                                       126.         As a direct result of Dixon’s and Groman’s above-described unlawful

                                                                                                                           acts, Plaintiff suffered 32 and 7 months years in prison. Plaintiff still suffers

                                                                                                                           residual physical and psychological injuries as a direct result of Dixon’s and

                                                                                                                           Groman’s above-described actions including but not limited to: severe

                                                                                                                           anxiety, severe depression, severe paranoia, severe digestive issues, and

                                                                                                                           incurable abdominal pains.

                                                                                                                       127.         These consequences of Dixon’s and Groman’s actions were obvious

                                                                                                                           and foreseeable, especially as they were seasoned FBI drug task force agents,



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                                                                                                                           and yet Dixon and Groman continued their actions with either a reckless

                                                                                                                           disregard for the consequences, or willful knowledge of them.

                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Dixon’s and

                                                                                                                    Groman’s clear violation of his obvious constitutional rights, justice demands that

                                                                                                                    this Honorable Court grant Plaintiff's requested relief.

                                                                                                                                                      COUNT II
                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                     Intentional Infliction of Emotional Distress
                                                                                                                                    Indoctrination of Child into Criminal Society
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                       128.        Plaintiff incorporates by reference the foregoing paragraphs as if fully
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                                                                                                                           restated hereunder.

                                                                                                                       129.        Dixon and Groman’s conduct in recruiting, instructing, and coercing

                                                                                                                           Plaintiff into drug trafficking at the age of 14 is extreme and outrageous

                                                                                                                           conduct which cannot be tolerated in our society.

                                                                                                                       130.        So too was their conduct in continuing to use Plaintiff to deal drugs and

                                                                                                                           inform on drug dealers even after Plaintiff’s attempted assassination, which

                                                                                                                           also showed Dixon and Groman’s recklessness or, more likely, intent.

                                                                                                                       131.        Dixon and Groman taught Plaintiff how to deal drugs and encouraged

                                                                                                                           him, with the undue influence of adult authority figures over children, in this

                                                                                                                           behavior and as a direct result, Plaintiff became a drug dealer.

                                                                                                                       132.        Dixon’s and Groman's actions in continuously taking 14-16-year-old

                                                                                                                           Plaintiff into their custody and control, couching him on how to commit

                                                                                                                    25 | P a g e
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                                                                                                                           serious felonies, providing him with large amounts of illicit drugs, and

                                                                                                                           instructing him on how to behave like a high-level criminal, absolutely shocks

                                                                                                                           the conscience to the point were several documentaries and a Hollywood film

                                                                                                                           have been made recounting the almost unbelievable sequence of

                                                                                                                           governmental abuses.

                                                                                                                       133.         But-for Dixon’s and Groman’s actions in grooming and indoctrinating

                                                                                                                           Plaintiff into becoming a notorious drug dealer, Plaintiff would never have

                                                                                                                           been shot in the abdomen at point blank range with a .357 magnum.
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                                    But-for Dixon’s and Groman’s actions in grooming and indoctrinating
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                                                                                                                       134.

                                                                                                                           Plaintiff as a child, Plaintiff never would have spent his entire adult life (32

                                                                                                                           years and 7 months) up until now in the small, dark, cages that were his prison

                                                                                                                           cells.

                                                                                                                       135.         As a direct result of Dixon’s and Groman’s above-described unlawful

                                                                                                                           acts, Plaintiff suffered and still suffers residual physical and psychological

                                                                                                                           injuries as a direct result of Dixon’s and Groman’s above-described actions

                                                                                                                           including but not limited to: severe anxiety, severe depression, severe

                                                                                                                           paranoia, severe digestive issues, and incurable abdominal pains.

                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Dixon’s and

                                                                                                                    Groman’s clear violation of his obvious constitutional rights, justice demands that

                                                                                                                    this Honorable Court grant Plaintiff's requested relief.

                                                                                                                                                         COUNT III
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                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                         Fraud/Negligent Misrepresentation
                                                                                                                                          Breaching Promise of Immunity

                                                                                                                       136.        Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.

                                                                                                                       137.        In exchange for Plaintiff's life-endangering assistance in Operation

                                                                                                                           Backbone, Groman, Helland, and King agreed to advocate for Plaintiff's

                                                                                                                           release from prison at a meaningful time and in a meaningful way.

                                                                                                                       138.        Plaintiff acted in reliance on the Groman’s, Helland’s, and King’s
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                                                                                                                           promise that they would vehemently advocate for his release, at a meaningful

                                                                                                                           time and in a meaningful way, when he cooperated against his former close

                                                                                                                           friend Cathy Valos and many Detroit Police Department officials in Operation

                                                                                                                           Backbone.

                                                                                                                       139.        Groman, Helland, and King held themselves out as having authority

                                                                                                                           from their respective organizations, the FBI and the US Attorneys Office for

                                                                                                                           the Eastern District of Michigan.

                                                                                                                       140.        After Plaintiff fulfilled his end of the bargain, those representations

                                                                                                                           proved false when Plaintiff’s then attorney was forced to subpoena Groman

                                                                                                                           to testify, and when the US Attorneys Office for the Eastern District of

                                                                                                                           Michigan sent a letter to Plaintiff’s parole board opposing Plaintiff’s parole.




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                                                                                                                       141.        Groman, Helland, and King either recklessly or knowingly

                                                                                                                           misrepresented that they had the authority to advocate for Plaintiff’s release,

                                                                                                                           when they did not.

                                                                                                                       142.        Groman, Helland, and King either recklessly or knowingly

                                                                                                                           misrepresented that the FBI and US Attorneys Office for the Eastern District

                                                                                                                           of Michigan would support Plaintiff’s release, when they did not.

                                                                                                                       143.        Groman, Helland, and King representations were proven false, when in

                                                                                                                           2003 at his first parole hearing they refused to advocate for Plaintiff's release
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                           and, in fact, Helland and King’s office advocated for his permanent
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                                                                                                                           incarceration.

                                                                                                                       144.        Plaintiff suffered severe injury as a direct result of Groman’s,

                                                                                                                           Helland’s, and King’s above-described actions in the form of doing another

                                                                                                                           17 years in prison, in having his parole denied, in having his hope and faith in

                                                                                                                           humanity shattered.

                                                                                                                       145.        Plaintiff's injury was suffered anew every day for the entire remainder

                                                                                                                           of his time in prison as he was burdened with the residual paranoia that comes

                                                                                                                           with having been an informant against members of gangs with prison

                                                                                                                           presences and corrupt police officers which require one to be put into a

                                                                                                                           witness protection program while in prison.




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                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Groman’s,

                                                                                                                    Helland’s and King’s clear violation of his obvious constitutional rights, justice

                                                                                                                    demands that this Honorable Court grant Plaintiff's requested relief.

                                                                                                                                                     COUNT IV
                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                         Fraud/Negligent Misrepresentation
                                                                                                                                    Publication of Sealed Grand Jury Testimony

                                                                                                                       146.        Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.
                                                        P: (3 1 3 ) 9 8 3 -4 6 00 | F : (3 1 3 ) 98 3 -4 6 65
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                                                                                                                       147.        In exchange for Plaintiff's life-endangering assistance in giving sealed
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                                                                                                                           grand jury testimony against high-ranking members of powerful drug gangs,

                                                                                                                           Helland and King agreed both that Plaintiff's testimony would never be used

                                                                                                                           against him and to advocate for Plaintiff's release from prison at a meaningful

                                                                                                                           time and in a meaningful way.

                                                                                                                       148.        Plaintiff acted in reliance on the AUSAs’ promise that his testimony

                                                                                                                           before the grand jury would never be published or used against him and that

                                                                                                                           they would vehemently advocate for his release, at a meaningful time and in

                                                                                                                           a meaningful way, when he cooperated and testified against powerful gang

                                                                                                                           members in gangs that had large presences in his prison.

                                                                                                                       149.        Helland and King made the above representations either with a reckless

                                                                                                                           regard for their truth or knowing they were false, as an unknown AUSA

                                                                                                                           obtained and released the grand jury testimony transcript in which Plaintiff

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                                                                                                                           made potentially incriminating statements and when Helland and King

                                                                                                                           refused to advocate for his release in 2003 at his first parole hearing, but

                                                                                                                           instead a letter was submitted from their office advocating for Plaintiff’s

                                                                                                                           continued life sentence, and published part or all of Plaintiff's testimony

                                                                                                                           before a grand jury that was sealed and elicited from Plaintiff with the promise

                                                                                                                           by Helland and King that it would never be used in any such way.

                                                                                                                       150.        Plaintiff suffered severe injury as a direct result of Helland’s, King’s,

                                                                                                                           and the Unknown AUSA's above-described misrepresentations in the form of
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                                                                                                                           doing another 17 years in prison, in having his parole denied, in having his

                                                                                                                           hope and faith in humanity shattered.

                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Defendants' clear

                                                                                                                    violation of his obvious constitutional rights, justice demands that this Honorable

                                                                                                                    Court grant Plaintiff's requested relief.

                                                                                                                                                      COUNT V
                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                                   Civil Conspiracy
                                                                                                                          Breaching of Promise / Publication of Sealed Grand Jury Testimony
                                                                                                                                           (As to Defendant United States)

                                                                                                                       151.        Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.

                                                                                                                       152.        Plaintiff had a clearly established Fifth Amendment right, applicable to

                                                                                                                           the States via the Fourteenth Amendment, to the government's keeping its

                                                                                                                           relied-on promises in all criminal judicial proceedings against Plaintiff.
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                                                                                                                       153.        This right included the right to Helland, King, and the Unknown AUSA

                                                                                                                           keeping the promise which Plaintiff relied on to not have his sealed testimony

                                                                                                                           published to the Michigan Parole Board and Detroit Police Department for

                                                                                                                           consideration at Plaintiff's parole hearings.

                                                                                                                       154.        Additionally, Plaintiff has a fifth amendment procedural due process

                                                                                                                           right to not have his sealed testimony published for consideration by the

                                                                                                                           Michigan Parole Board, regardless of his reliance and/or promises not to

                                                                                                                           publish it.
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                                                                                                                       155.        Helland, King, and the Unknown AUSA had a singular plan to violate

                                                                                                                           Plaintiff's above-described constitutional right and defraud Plaintiff by

                                                                                                                           publishing his sealed grand jury testimony to his parole board.

                                                                                                                       156.        Helland, King, and the Unknown AUSA acted in concert to elicit the

                                                                                                                           grand jury testimony from Plaintiff and then publish it.

                                                                                                                       157.        On Plaintiff's 2003 phone call with AUSA Lynn Helland, Helland told

                                                                                                                           Plaintiff expressly that his "boss," named in this matter as Unknown Assistant

                                                                                                                           United States Attorney, had obtained the sealed grand jury testimony.

                                                                                                                       158.        Helland, King, the Unknown AUSA and the City of Detroit acted in

                                                                                                                           concert when the grand jury testimony was acquired by the Detroit Police

                                                                                                                           Department for review by its officers to enable them to testify against Plaintiff

                                                                                                                           at his 2003 parole hearing.



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                                                                                                                       159.        Helland, King, the Unknown AUSA and the City of Detroit violated

                                                                                                                           Plaintiff's said due process right when they published part or all of Plaintiff's

                                                                                                                           testimony before a grand jury that was sealed and elicited from Plaintiff with

                                                                                                                           the promise by Helland and King that it would never be used in any such way.

                                                                                                                       160.        Plaintiff suffered severe injury as a direct result of Helland’s, King’s,

                                                                                                                           the Unknown AUSA’s, and the City of Detroit’s above-described actions in

                                                                                                                           the form of doing another 17 years in prison, in having his parole denied, in

                                                                                                                           having his hope and faith in humanity shattered.
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                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Helland’s, King’s,
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                                                                                                                    the Unknown AUSA’s, and the City of Detroit’s clear violation of his obvious

                                                                                                                    constitutional rights, justice demands that this Honorable Court grant Plaintiff's

                                                                                                                    requested relief.

                                                                                                                                                      COUNT VI
                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                                    Civil Conspiracy
                                                                                                                        To Violate Plaintiff’s Fourth Amendment Right to be Free From Illegal
                                                                                                                            Seizure Taking Plaintiff into Custody Throughout Childhood

                                                                                                                       161.        Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.

                                                                                                                       162.        Plaintiff has a Fourth Amendment right, applicable to the States via the

                                                                                                                           Fourteenth Amendment, to be free from unlawful government seizures of his

                                                                                                                           person.



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                                                                                                                       163.        Dixon and Groman, acting in concert, violated said right, continuously,

                                                                                                                           when they unlawfully seized Plaintiff time and again in 1984 through 1986,

                                                                                                                           through a show of force and authority at Plaintiff, ordering him to get into

                                                                                                                           their vehicles, go into drug houses, etc.

                                                                                                                       164.        Plaintiff, a child, submitted to all of the above-described shows of force

                                                                                                                           and authority.

                                                                                                                       165.        Dixon’s and Groman’s acts themselves were illegal as they violated

                                                                                                                           Plaintiff’s Fourth Amendment rights to be free from illegal search and seizure,
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                                                                                                                           or they were in furtherance of an illegal goal, to contribute to the delegacy of

                                                                                                                           a minor. (See Michigan Compiled Laws 750.145.)

                                                                                                                       166.        The injuries from the above-described violations of Plaintiff's Fourth

                                                                                                                           Amendment right to be free from unlawful government seizure eventually led

                                                                                                                           to his indoctrination as a drug dealing criminal and his serving 32 years and 7

                                                                                                                           months in prison. Plaintiff still suffers residual physical and psychological

                                                                                                                           injuries as a direct result of Defendants above-described actions including but

                                                                                                                           not limited to: severe anxiety, severe depression, severe paranoia, severe

                                                                                                                           digestive issues, and incurable abdominal pains.

                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Dixon’s and

                                                                                                                    Groman’s clear violation of his obvious constitutional rights, justice demands that

                                                                                                                    this Honorable Court grant Plaintiff's requested relief.

                                                                                                                                                          COUNT VII
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                                                                                                                          Michigan State Torts brought pursuant to 28 USC § 1346(b) et seq.
                                                                                                                                                  Civil Conspiracy
                                                                                                                                Violation of Constitutional Right to Family Integrity

                                                                                                                       167.        Plaintiff incorporates by reference the foregoing paragraphs as if fully

                                                                                                                           restated hereunder.

                                                                                                                       168.        Plaintiff had a First Amendment right to family integrity as a minor

                                                                                                                           child in the 1980's.

                                                                                                                       169.        Dixon and Groman acted in concert when they deprived Plaintiff of that

                                                                                                                           right by indoctrinating and grooming him into a criminal drug dealer and then
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                                                                                                                           failing to take any action to mitigate his separation from his family as a direct

                                                                                                                           and obvious result of their actions.

                                                                                                                       170.        The Dixon and Groman had a single purpose in conspiring to violate

                                                                                                                           Plaintiff's right to be with his family by having his 1) become a drug dealer

                                                                                                                           and/or 2) be sent to prison.

                                                                                                                       171.        Dixon and Groman each participated in bringing about the

                                                                                                                           constitutional violation by indoctrinating, grooming, or otherwise making

                                                                                                                           Plaintiff into a drug dealing criminal. Dixon and Groman both forced Plaintiff

                                                                                                                           to buy and sell drugs, to associate with gangsters, and condoned his keeping

                                                                                                                           of drugs and eventual drug dealing.

                                                                                                                       172.        As the indoctrination and grooming of Plaintiff to become a drug dealer

                                                                                                                           at such a young, tender, age did itself rob Plaintiff of his family integrity, it

                                                                                                                           also failed to afford Plaintiff adequate due process of law, as is required before
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                                                                                                                           government interference with one's First Amendment right to familial

                                                                                                                           integrity.

                                                                                                                       173.        As a direct result of Defendants actions, Plaintiff spent 32 and 7 months

                                                                                                                           years away from his family, was not allowed to say goodbye to his father or

                                                                                                                           attend his funeral, was not allowed to raise his children, and even became a

                                                                                                                           grandfather while in prison. Now that he is out, Plaintiff is practically a

                                                                                                                           stranger to those closest to him.

                                                                                                                           WHEREFORE, as Plaintiff's injuries are a direct result of Dixon’s and
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                                                                                                                    Groman’s clear violation of his obvious constitutional rights, justice demands that
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                                                                                                                    this Honorable Court grant Plaintiff's requested relief.

                                                                                                                                        CONCLUSION AND RELIEF REQUESTED

                                                                                                                           Practitioners of law often fall into the mindset that for every legal question,

                                                                                                                    there is either an answer to be found in our courts' jurisprudence or, at least, caselaw

                                                                                                                    from which analogies can be made. However, sometimes the clearest answer is not

                                                                                                                    the legal answer, but the equitable one. What these defendants helped do to Plaintiff

                                                                                                                    is atrocious. There is no other case like Plaintiff's in United States history where a

                                                                                                                    14-year-old is used by federal and state law enforcement, shot and almost killed for

                                                                                                                    his confidential informing, and then not just abandoned by the law enforcement he

                                                                                                                    served but actively and unconstitutionally betrayed by them. Criminals have been

                                                                                                                    wrongly convicted, minors have been given life sentences, but never has a child-

                                                                                                                    confidential informant been so abused by law enforcement as these agents and
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                                                                                                                    officers abused Plaintiff. As one former FBI agent finally had the courage to admit

                                                                                                                    in a 2012 letter to the Michigan Parole Board, no law enforcement agency lifted a
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                                                                                                                    finger when Plaintiff was tried, out of a fear of 'embarrassment' for having so abused

                                                                                                                    a child.
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                                                                                                                             Indeed, this is a unique case. Plaintiff is the youngest FBI informant in this

                                                                                                                    history of this nation, known to this Plaintiff. Plaintiff also holds the record as the

                                                                                                                    longest serving prisoner convicted as a juvenile on a nonhomicide offense in the

                                                                                                                    State of Michigan. Our Constitution, our justice system, and God-given right to all

                                                                                                                    humanity calls on this Court to finally bring justice to a man whose life has been

                                                                                                                    taken from him at the tender age of 14 all the way up to 51 years of age. For conduct

                                                                                                                    that was not of his free will, but that of a minor who has been used, abused, reused,
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                                                                                                                    and re-abused by those that have sworn to protect and serve this country.

                                                                                                                             Plaintiff's story has been told in multiple film documentaries and a Hollywood

                                                                                                                    movie. Many people know Plaintiff's story in detail, and virtually all who do feel

                                                                                                                    Plaintiff was unfairly and despicably abused by law enforcement.

                                                                                                                             WHEREFORE, Plaintiff requests that this Honorable Court enter judgement

                                                                                                                    in his favor against all Defendants, jointly and severally, and issue an order

                                                                                                                    containing the following relief:

                                                                                                                             a) Declaring that Defendant United States, by and through its agents and

                                                                                                                                 actors, violated Plaintiff's Fifth Amendment rights when they indoctrinated

                                                                                                                                 Plaintiff into becoming a drug dealer as a child;




                                                                                                                    6   This document has been reviewed and verified by Plaintiff.

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                                                                                                                           b) Declaring that Defendant United States, through its federal agents and

                                                                                                                              actors, violated Plaintiff's Fifth Amendment due process rights when they

                                                                                                                              broke their promises to him to advocate on his behalf at his trial and before

                                                                                                                              the Michigan Parole Board;

                                                                                                                           c) Declaring that Defendant United States, through its federal agents and

                                                                                                                              actors, violated Plaintiff's Fifth Amendment due process rights when they

                                                                                                                              conspired to publish Plaintiff’s sealed grand jury testimony;

                                                                                                                           d) Declaring that Defendant United States, through its federal agents and
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                                                                                                                              actors, violated Plaintiff's Fourth Amendment due process right to be free

                                                                                                                              from unlawful arrests, when they continuously used their authority to stop

                                                                                                                              Plaintiff and force him into their vehicles to answer questions or receive

                                                                                                                              drugs for drug dealing;

                                                                                                                           e) Declaring that all Defendant United States, through its federal agents and

                                                                                                                              actors, violated Plaintiff's First Amendment right to family integrity;

                                                                                                                           f) Ordering Defendant United States to pay Plaintiff $100,000,000 for the

                                                                                                                              intentional violations of his constitutional rights;

                                                                                                                           g) Ordering Defendant United States to pay Plaintiff's costs and attorney fees

                                                                                                                              under the equal access to justice act; and

                                                                                                                           h) Any and all such other relief that this Court deems just and equitable

                                                                                                                              including any tolling of limitations periods necessary to accomplish

                                                                                                                              justice.
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                                                                                                                                          DEMAND FOR TRIAL BY JURY

                                                                                                                           Plaintiff respectfully demands a trial-by-jury of his peers on all of the

                                                                                                                    foregoing claims.

                                                                                                                                                                     Respectfully submitted;

                                                                                                                                                                     AYAD LAW, PLLC

                                                                                                                                                                     /s/Nabih H. Ayad
                                                                                                                                                                     Nabih H. Ayad (P59518)
                                                                                                                                                                     Attorneys for Plaintiff
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                                                                                                                                                                     Detroit, MI 48226
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                                                                                                                                                                     F: 313.983.4665
                                                                                                                           Dated: October 28, 2022                   filing@ayadlawpllc.com




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                                                                                                                                            CERTIFICATE OF SERVICE

                                                                                                                           I hereby certify that on this date I filed the foregoing paper and any

                                                                                                                    attachments with the Clerk of Courts using the ECF electronic filing system.

                                                                                                                                                                       Respectfully submitted;

                                                                                                                                                                       AYAD LAW, PLLC

                                                                                                                                                                       /s/Nabih H. Ayad
                                                                                                                                                                       Nabih H. Ayad (P59518)
                                                                                                                                                                       William D. Savage (P82146)
                                                                                                                                                                       Attorneys for Plaintiff
                                                                                                                                                                       645 Griswold St., Ste 2202
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                                                                                                                           Dated: October 28, 2022                     filing@ayadlawpllc.com




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                AFFIDAVIT OF RICHARD J. WERSHE, Jr.

  I, RICHARD J. WERSHE, Jr, do depose and state the following under penalty of

     perjury:

  1. I have personal knowledge of the facts alleged herein.

  2. I am competent and able to testify if called to do so.

  3. I make this affidavit of my own free will.

  4. I am also known as White Boy Rick, although I nor my friends and family

     have ever used that nickname.

  5. I was born on July 18, 1969.

  6. In 1984, at age 14, I was approached by FBI officer Jim Dixon to become an

     informant for the FBI and a joint task force it operated with the Detroit Police

     Department.

  7. As a fourteen-year-old to sixteen-year-old, I did not feel capable of denying

     or resisting the FBI agents and DPD officers when they gave me orders to get

     into their cars, trucks, or vans.

  8. The law enforcement officers were very assertive and I recall that they never

     asked me anything politely, but only gave me commands.

  9. I was a child while I worked for law enforcement in 1984-86, and did not fully

     comprehend the danger it placed me in.



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  10. When I went into dangerous drug houses, I did so because members of the

     FBI-DPD task force (often Groman, Jasper, or Greene) would parked in a van

     nearby and tell me: "It's okay, we're right here watching. They can't do

     anything to you, we're right here."

  11. Looking back, it is hard for me to believe that I believed them that they would

     keep me safe, but I did because I was a child and only because I was a child.

  12. After I was shot, Groman, Jasper, and Greene all came to my hospital bed and

     told me that I needed to say that the shooting was just an accident, that we had

     just been "playing" when I got shot. They said that would be "better for

     everyone."

  13. I see now they meant themselves, because they would have all gotten fired

     and hopefully charged criminally if it came out that they were using a 14-15-

     year old confidential informant as a drug dealer.

  14. I still have nightmares about being shot, where I remember laying on the floor

     bleeding out and begging Walker to call 9-1-1, and him just staring at me

     coldly, watching me die. Then him and his friend trying to stuff me into their

     car to go dump my dying body somewhere.

  15. Looking back now, I see how gravely risky my actions were and how

     irresponsible the FBI (James Dixon, Herman Groman) and the Detroit Police

     (William Jasper, Kevin Greene) were to put me in such dangerous situations.


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  16. Had I not been an informant for the task force, I would never have gotten

     involved with drug gangs or criminality of any sort.

  17. When I was convicted, I was incensed that the FBI and DPD, or at least

     members of the task force James Dixon, Herman Groman, William Jasper,

     and Kevin Greene did not come forward to assist me in criminal proceedings.

  18. I recall I asked my then attorney William Bufalino if I could sue them, he told

     me to "keep my mouth shut" until I was out. He said it would be stupid for me

     to go after powerful law enforcement individuals like I wanted to and that it

     would ruin any chance we had of ever getting me out of prison. He assured

     me that any law enforcement or United States attorneys I sued would either

     have me attacked or killed in prison or ensure that I never got out, should I

     ever get a chance to be released early.

  19. When I was 18, when I was first in prison, I was on the phone with my mom

     and I saw another prisoner stab a different prisoner in the neck. I remember I

     said "I have to go" and hung up.

  20. I remember it terrified me. That was my introduction to life on the inside and

     that is something you never forget.

  21. The lesson their being that life is fragile in prison. If someone wants you dead,

     its easy if you are in prison.




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  22. It was an assassination in prison. So when my attorneys or others said I could

     get killed while in prison for bringing a lawsuit, or causing problems for

     people on the outside with influence, I knew it was true.

  23. Bufalino also assured me that I would have 1 year after I got out of prison to

     bring any lawsuits against the law enforcement responsible for my prison

     sentence, anyway, so I should wait.

  24. I learned again while in prison that William Bufalino's advice about law

     enforcement possibly retaliating against me was exactly correct when the

     federal government had to put me in witness protection while in prison,

     because I was going to help them with Operation Backbone, a sting operation

     against corrupt Detroit Police.

  25. I knew that if the federal government was so afraid that the state law

     enforcement would have me killed while I was in prison, that the danger of

     retaliation for going after law enforcement was real and that I needed to not

     bring any lawsuits against law enforcement while I was in prison if I wanted

     to ever get out of prison.

  26. In 1991, Herman Groman and Lynn Hellend approached me and offered to do

     everything they could to get me out of prison if I helped them with a drug

     sting operation against corrupt Detroit cops.




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  27. I agreed only because I wanted out of prison so badly and I believed them

     when they said they would keep their end of the agreement.

  28. Between 1994 and 1995, Assistant United States Attorney James King came

     to me and said that I testified before a grand jury about members of the Best

     Friends gang, he would go "balls to the wall" to get me out of prison.

  29. I obviously was very concerned over my safety to testify against the Best

     Friends gang, just like I was concerned over helping take down corrupt Detroit

     police, but King assured me that my testimony would be kept under "seal."

  30. So I agreed to that too, even though the testimony was in some senses

     incriminating, because I was promised it would never see the light of day after

     the grand jury heard it.

  31. I agreed so that King and the United States Attorneys Office for the Eastern

     District of Michigan would help get me out of prison.

  32. In 2003 when I first became eligible for parole, I saw law enforcement

     retaliate against me first hand, confirming my fears of retaliation by law

     enforcement.

  33. The United States Attorneys Office of the Eastern District of Michigan

     illegally unsealed the grand jury testimony I had given, and that Lynn Hellend

     and James King had promised me would never be used against me, and sent

     it to the Michigan Parole Board right before my first parole hearing.


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  34. As well, the United States Attorneys Office for the Eastern District of

     Michigan sent a letter saying that they did not support my release, breaking

     the promise that was made to me.

  35. That was all retaliation for testimony and information I had given years back.

  36. I am confident that I would have been released on parole in 2003 had it not

     been for the United State Attorney letter and the unsealing of my grand jury

     testimony, especially because the Parole Board had done a home inspection

     for me, which is something that I have seen over my many years in prison is

     only done when the parole board itself believes that they will be letting a

     prisoner out on parole.

  37. I was told by multiple federal attorneys and federal law enforcement,

     including Lynn Hellend in a phone call in 2003, that this was because someone

     in charge at the United States Attorneys Office for the Eastern District of

     Michigan was retaliating against me for having helped the federal government

     take down corrupt Detroit police.

  38. I know I was the target of retaliation by law enforcement/individuals at the

     Department of Justice while I was in prison and I am 100% certain that I

     would not be out of prison today had I brought any legal actions against the

     law enforcement and Assistant United States Attorneys whose actions




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     resulted in my being in prison and not getting released on parole for so many

     years.

  39. Later, I got as my attorney Ralph Musili. Ralph was a great attorney and I

     have great respect for him.

  40. It was Ralph Musili that got me out. Instead of suing law enforcement and

     United States Attorneys for what they did to me, he sued the Michigan

     Parole Board for denying me a parole hearing. That lawsuit went up to the

     Sixth Circuit on appeal and the parole board agreed to let me out if we

     dropped the appeal, so we did, and I was finally paroled out.

  41. I shared with Ralph my desire to take legal action against James Dixon,

     Herman Groman, William Jasper, Kev Greene, Lynn Hellend, James King,

     and their respective government agencies, and his advice to me was very

     similar as attorney Bufalino's.

  42. Ralph told me to keep my head down and not rock the boat, to not try to sue

     any law enforcing on the outside because there was a high chance that they

     would retaliate against me and make sure I stayed in prison forever.

  43. Just like Bufalino, Ralph Musili assured me on many occasions that I would

     have one years after I got out of prison to bring my lawsuit.

  44. To me, it made absolute sense to wait until I was out before I tried to take

     action against the people responsible for getting me in prison.


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  45. If they could make sure I went to prison in the first place, it is obvious that

     they could make sure I didn't get out of prison.

  46. As soon as I got out of prison, I worked diligently and began speaking with

     attorneys about bringing a potential lawsuit.

  47. While I was in prison, every day was like being forced to relive my betrayal

     by James Dixon, Herman Groman, William Jasper, Kevin Greene, Lynn

     Hellend, James King, and their respective government agencies as I

     constantly worried about being attacked for informing, cooperating, and

     testifying against dangerous gangs and corrupt cops.

  48. I still have nightmares about the horrors of prison, violence and cruelty by

     prisoners and prisons guards, getting shot, being set up and betrayed by the

     feds and Assistant United States Attorneys.

  49. I continuously contacted all of the above to try to get them to help me as

     they promised they would and they continuously refused to do so.




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   50. There is no doubt in my mind, after what James Dixon, Herman Groman,

      William Jasper, Kevin Greene, Lynn Hellend, James King, and their

      respective government agencies did to me, twice, that they would have

      retaliated against me while I was in prison and ensure that, either by natural

      causes or not, I died in prison.

FURTHER AFFIANT SAYETH NOT.
     I declare under penalty of perjury that the foregoing is true and correct. (28
US Code § 1746.)
Dated this _________ day of ______________________ 20_______.

_______________________________________
(Signature of Affiant)

_______________________________________
(Printed name of Affiant)




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                   AFFIDAVIT OF MICHELLE MacDONALD

  I, MICHELLE MacDONALD, do depose and state the following under penalty

     of perjury:

  1. I have personal knowledge of the facts alleged herein.

  2. I am competent and able to testify if called to do so.

  3. I make this affidavit of my own free will.

  4. I am the fiancée of Mr. Richard Wershe, Jr., known in the news as "White

     Boy Rick."

  5. I have known Rick since we were in middle school together.

  6. When Rick was paroled to serve a prison sentence in Florida, I went down to

     visit him.

  7. Rick and I currently live together.

  8. Rick frequently wakes us both up from sleep by having nightmares, which

     jar him awake and which he has told me are about his being shot when he

     was 15, and then later his being left in prison after the FBI, Detroit Police,

     and United States Attorneys for the Eastern District of Michigan broke their

     agreement with him to help him get out of prison if he risked his life to help

     them.

  9. Rick and I have discussed his potential lawsuits against the law enforcement

     agents and the government many times over the years.
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  10. Rick has always maintained that he could not bring any lawsuits until he was

     out of prison because it would be "stupid" and "crazy" to bring a lawsuit

     against the government while he was in prison, as he believed that it would

     either get him killed or get him stuck in prison forever, by retaliation from

     those he sued.

  11. I believe Rick was correct in that and I am happy he is out and can now

     bring his lawsuit.

  12. I also heard at least twice his attorney Mr. Ralph Musilli tell him not to bring

     a lawsuit while he was in prison and risk retaliation and that he would have

     one year after he got out of prison to bring any such lawsuit.

  13. I remember these conversations because it was hard for Rick to wait so long.

FURTHER AFFIANT SAYETH NOT.
     I declare under penalty of perjury that the foregoing is true and correct. (28

US Code § 1746.)

Dated this _________ day of ______________________ 20_______.

_______________________________________
(Signature of Affiant)

_______________________________________
(Printed name of Affiant)




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                   AFFIDAVIT OF MS. LYNNE HOOVER




  I, LYNN HOOVER, do depose and state the following under penalty of perjury:

  1. I have personal knowledge of the facts alleged herein.

  2. I am competent and able to testify if called to do so.

  3. I make this affidavit of my own free will.

  4. My late husband was Ralph Musilli, a well-known and highly respected

     Michigan Attorney.

  5. My husband represented Mr. Richard Wershe, who is known in the media as

     "White Boy Rick" for many years.

  6. Throughout many years of my husband's representing Mr. Werhse, he and I

     often discussed the case in detail.




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  7. It has always been my understanding that Mr. Wershe should not take any

     legal action against the government, law enforcement officers, or United

     States Attorneys (as Mr. Wershe wanted to) until he was out of prison, or else

     they would retaliate against him and he would never get out of prison.

FURTHER AFFIANT SAYETH NOT.
     I declare under penalty of perjury that the foregoing is true and correct. (28

US Code § 1746.)

Dated this _________ day of ______________________ 20_______.

_______________________________________
(Signature of Affiant)

_______________________________________
(Printed name of Affiant)




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